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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   TRENTON VICINAGE


CENIA GARCIA,                                   Civil Action No.

                      Plaintiff,
                                                   RULE 7.1 CORPORATE DISCLOSURE
       vs.                                             Document Electronically Filed

HOME EXPRESSIONS, INC. and JOHN
DOES 1-5 and 6-10,

                      Defendants.



       Pursuant to Federal Rule of Civil Procedure 7.1, Defendant, Home Expressions, Inc.

hereby discloses as follows:

       1.      Home Expressions, Inc. is a New Jersey State corporation, with its principal place

of business in New Jersey.

       2.      There is no parent corporation of Defendant, Home Expressions, Inc. and thus no

parent corporation owns ten percent (10%) or more of the stock of Home Expressions, Inc.

       3.      No publicly held corporation owns ten percent (10%) or more of the stock of

Home Expressions, Inc.


                                                   GOLDBERG SEGALLA LLP
                                                   Attorneys for Defendant
                                                   Home Expressions, Inc.


                                             By:
                                                            Caroline J. Berdzik, Esquire
Dated: March 19, 2021




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